Case 4:21-cv-00607-ALM Document 29-4 Filed 09/07/22 Page 1 of 4 PageID #: 615
Greene vs Tyler Technologies         30(b)(6) Hillary Pasch         10/09/2019


 ·1· · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · · · NORTHERN DISTRICT OF GEORGIA
 ·2· · · · · · · · · ATLANTA DIVISION                                    4
 ·3

 ·4· ·SUZANNE GREENE,· · · · · )
 · · · · · · · · · · · · · · · )
 ·5· · · · · · ·Plaintiff,· · ·)· CIVIL ACTION NO.
 · · · · · · · · · · · · · · · )
 ·6· · · · vs.· · · · · · · · ·)· 1:19-cv-01338-AT
 · · · · · · · · · · · · · · · )
 ·7· ·TYLER TECHNOLOGIES, INC.,)
 · · · · · · · · · · · · · · · )
 ·8· · · · · · ·Defendant.

 ·9

 10

 11· · · 30(B)(6) DEPOSITION OF TYLER TECHNOLOGIES

 12· · · · · · ·BY WITNESS: HILLARY PASCH

 13· · · · · · · · · October 9, 2019

 14· · · · · · · · · · ·10:00 a.m.

 15· · · · · · · · · Dentons US, LLP

 16· · · · · · · 303 Peachtree Street, NE

 17· · · · · · · · · · ·Suite 5300

 18· · · · · · · Atlanta, Georgia· 30308

 19

 20· · · Reported By: Judith L. Leitz Moran, RPR, RSA,

 21· · · · · · · · · ·Certified Court Reporter CCR-B-2312

 22· · · · · · · · · ·Job No. 538

 23

 24

 25


                                934 Glenwood Ave SE, Suite 250         Page 1
                               Atlanta, GA 30316· |· 855.478.7376
Case 4:21-cv-00607-ALM Document 29-4 Filed 09/07/22 Page 2 of 4 PageID #: 616
Greene vs Tyler Technologies         30(b)(6) Hillary Pasch         10/09/2019


 ·1· ·APPEARANCES:
 ·2
 ·3· ·On behalf of the Plaintiff:
 ·4· · · · MATTHEW W. HERRINGTON, ESQUIRE
 ·5· · · · DELONG, CALDWELL, BRIDGERS,
 ·6· · · · FITZPATRICK & BENJAMIN, LLC
 ·7· · · · 3100 Centennial Tower
 ·8· · · · 101 Marietta Street
 ·9· · · · Atlanta, Georgia· 30303
 10
 11· ·On behalf of the Defendant:
 12· · · · PAULO B. McKEEBY, ESQUIRE
 13· · · · REED SMITH LLP
 14· · · · 2501 N. Harwood Street
 15· · · · Suite 1700
 16· · · · Dallas, Texas· 75201
 17
 18· ·ALSO PRESENT:
 19· · · · ABIGAIL DIAZ-PEDROSA, CHIEF LEGAL OFFICER
 20· · · · TYLER TECHNOLOGIES
 21
 22
 23
 24
 25

                                934 Glenwood Ave SE, Suite 250         Page 2
                               Atlanta, GA 30316· |· 855.478.7376
Case 4:21-cv-00607-ALM Document 29-4 Filed 09/07/22 Page 3 of 4 PageID #: 617
Greene vs Tyler Technologies         30(b)(6) Hillary Pasch         10/09/2019


 ·1· · · · Q· · Well, because the number has been
 ·2· ·approximately the same, I expect that the number
 ·3· ·leaving and coming is approximately identical; is
 ·4· ·that correct?
 ·5· · · · A· · We had expanded so there would be a
 ·6· ·fluctuation in incoming.
 ·7· · · · Q· · By "expanded," you mean that they've
 ·8· ·hired more --
 ·9· · · · A· · Correct.
 10· · · · Q· · -- implementation consultants?
 11· · · · A· · Correct.
 12· · · · Q· · Well, how is it possible then that there
 13· ·were approximately the same number in '16 and '19?
 14· · · · A· · There was approximately the same number
 15· ·from acquisition to before acquisition.· From 2016
 16· ·to 2019, it has grown.
 17· · · · Q· · Okay.· Can you tell me how many
 18· ·implementation consultants were employed post
 19· ·acquisition before it grew?
 20· · · · A· · I don't have an exact number, but I would
 21· ·say three or four.
 22· · · · Q· · Okay.· Can customers of ExecuTime -- or
 23· ·of Tyler when they purchase the license, when they
 24· ·license ExecuTime software, can they make that
 25· ·purchase independent of -- without purchasing any

                                934 Glenwood Ave SE, Suite 250        Page 55
                               Atlanta, GA 30316· |· 855.478.7376            YVer1f
Case 4:21-cv-00607-ALM Document 29-4 Filed 09/07/22 Page 4 of 4 PageID #: 618
Greene vs Tyler Technologies         30(b)(6) Hillary Pasch         10/09/2019


 ·1· ·servicing by ExecuTime employees?
 ·2· · · · A· · Can you describe "servicing"?
 ·3· · · · Q· · Yeah.
 ·4· · · · · · ·Can they purchase the software without
 ·5· ·the installation, the implementation, and the
 ·6· ·support?
 ·7· · · · A· · That's not recommended.
 ·8· · · · Q· · Okay.· Has it been done?
 ·9· · · · A· · Not to my knowledge.
 10· · · · Q· · Okay.· Are there different levels of
 11· ·service that customers can purchase?· For example,
 12· ·can they purchase only the installation?
 13· · · · A· · Not to my knowledge.
 14· · · · Q· · So are you aware of any customers who
 15· ·purchased ExecuTime who have not gotten the
 16· ·installation, the implementation, and the
 17· ·post-implementation support?
 18· · · · A· · Not to my knowledge, no.
 19· · · · Q· · So really the --
 20· · · · · · ·MR. HERRINGTON:· Let's actually go off
 21· ·the record for a second.
 22· · · · · · ·(Off the record.)
 23· · · · · · ·MR. HERRINGTON:· Back on the record.
 24· ·BY MR. HERRINGTON:
 25· · · · Q· · Do customers purchase different -- and I

                                934 Glenwood Ave SE, Suite 250        Page 56
                               Atlanta, GA 30316· |· 855.478.7376            YVer1f
